                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:                                                      Case No. 24-41956-MAR
         BRANDON L HEITMANN

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Krispen S. Carroll, chapter 13 trustee, submits the following Final Report and Account of
the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 02/29/2024.

         2) The plan was confirmed on NA .

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was converted on 02/25/2025.

         6) Number of months from filing to last payment: 11.

         7) Number of months case was pending: 14.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $33,383.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

        Total paid by or on behalf of the debtor               $7,286.36
        Less amount refunded to debtor                         $6,630.57

NET RECEIPTS:                                                                                      $655.79


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                   $0.00
    Court Costs                                                             $0.00
    Trustee Expenses & Compensation                                       $655.79
    Other                                                                   $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                  $655.79

Attorney fees paid and disclosed by debtor:               $15,000.00


Scheduled Creditors:
Creditor                                     Claim           Claim          Claim       Principal      Int.
Name                               Class   Scheduled        Asserted       Allowed        Paid         Paid
24 CAPITAL                     Unsecured    183,000.00              NA            NA            0.00       0.00
AG GAS SERVICE                 Unsecured           0.00             NA            NA            0.00       0.00
ALEX BOYD AND REBECCA BOYD     Unsecured           0.00     300,000.00     300,000.00           0.00       0.00
AMANDA PISARSKI                Unsecured           0.00             NA            NA            0.00       0.00
AMERICAN EXPRESS NATIONAL BAN Unsecured     450,000.00      449,395.08     449,395.08           0.00       0.00
AMERICAN LEAK DETECTION        Unsecured           0.00             NA            NA            0.00       0.00
AMERICREDIT FINANCIAL SERVICES Secured       22,325.00       20,542.33      20,542.33           0.00       0.00
AMERICREDIT FINANCIAL SERVICES Secured              NA       56,737.84      56,737.84           0.00       0.00
AMERICREDIT FINANCIAL SERVICES Unsecured            NA         4,737.84      4,737.84           0.00       0.00
AQUA HALL                      Unsecured           0.00             NA            NA            0.00       0.00
ARLINGTON MASONRY SUPPLY       Unsecured           0.00             NA            NA            0.00       0.00
ASSOCIATED BANK                Secured              NA         1,750.00      1,750.00           0.00       0.00
ASSOCIATED BANK                Secured       48,731.00       38,685.64      38,685.64           0.00       0.00
ASSOCIATED BANK                Secured              NA             0.00          0.00           0.00       0.00
AUTO OWNERS INSURANCE          Unsecured           0.00             NA            NA            0.00       0.00
BARAJAS ENTERPRISE             Unsecured           0.00             NA            NA            0.00       0.00
BCBS                           Unsecured           0.00             NA            NA            0.00       0.00
CAMPO DISPOSAL                 Unsecured           0.00             NA            NA            0.00       0.00
CATERPILLAR FINANCIAL SERVICES Unsecured      7,000.00              NA            NA            0.00       0.00
CITIZENS BANK                  Unsecured     75,000.00       71,341.03      71,341.03           0.00       0.00
CLASSIC POOLS                  Unsecured           0.00             NA            NA            0.00       0.00
CONGIL TRUCK LINES             Unsecured           0.00             NA            NA            0.00       0.00
CONNELLY CRANE                 Unsecured           0.00             NA            NA            0.00       0.00
CONNEXUS CU                    Secured      151,852.00      163,794.44     163,794.44           0.00       0.00
DANA CARAN                     Unsecured           0.00             NA            NA            0.00       0.00
DANIEL CARTER                  Unsecured           0.00             NA            NA            0.00       0.00
DANIEL CARTER                  Unsecured            NA      300,000.00     300,000.00           0.00       0.00
DISCOVER BANK/DISCOVER PRODUC Unsecured       6,300.00         6,292.25      6,292.25           0.00       0.00
ERC SPECIALIST                 Unsecured           0.00             NA            NA            0.00       0.00
EVEREST BUSINESS FUNDING       Unsecured    200,000.00      222,042.90     222,042.90           0.00       0.00
EXIGENT LANDSCAPING LLC        Unsecured           0.00             NA            NA            0.00       0.00



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Scheduled Creditors:
Creditor                                       Claim         Claim         Claim       Principal      Int.
Name                                 Class   Scheduled      Asserted      Allowed        Paid         Paid
FANTASTIC POOLS LLC              Unsecured           0.00           NA           NA            0.00       0.00
FIFTH THIRD BANK                 Unsecured         400.00           NA           NA            0.00       0.00
FIFTH THIRD BANK NA              Unsecured            NA     36,836.39     36,836.39           0.00       0.00
FIFTH THIRD BANK NA              Secured       72,500.00     74,801.39     74,801.39           0.00       0.00
FIRST FOUNDATION BANK            Unsecured           0.00           NA           NA            0.00       0.00
FLEET MASTERS EQUIPMENT          Unsecured           0.00           NA           NA            0.00       0.00
FOREST BROOK ESTATES HOMEOWN Unsecured             500.00      1,250.00     1,250.00           0.00       0.00
FUNDBOX FINANCING                Unsecured           0.00           NA           NA            0.00       0.00
GATEWAY ENGINEERING              Unsecured           0.00           NA           NA            0.00       0.00
GOOGLE                           Unsecured           0.00           NA           NA            0.00       0.00
GRACE TRANSPORT                  Unsecured           0.00           NA           NA            0.00       0.00
GUNTHER SERVICES                 Unsecured      1,000.00            NA           NA            0.00       0.00
HECKTOR OROZCO                   Unsecured           0.00           NA           NA            0.00       0.00
INTERNAL REVENUE SERVICE         Unsecured            NA     15,635.13     15,635.13           0.00       0.00
INTERNAL REVENUE SERVICE         Priority       4,588.00    141,637.67    141,637.67           0.00       0.00
IOU CENTRAL INC DBA IOU FINANCI Unsecured     450,000.00            NA           NA            0.00       0.00
IVAN SALEM                       Unsecured           0.00           NA           NA            0.00       0.00
J&H TRANSPORTATION CO            Unsecured           0.00           NA           NA            0.00       0.00
JAYS SEPTIC TANK SERVICE         Unsecured           0.00           NA           NA            0.00       0.00
JEFF ENGLISH                     Unsecured           0.00           NA           NA            0.00       0.00
JOE HEBEKA AND ANGELA HEBEKA Unsecured               0.00           NA           NA            0.00       0.00
JOE REGALADO                     Unsecured           0.00           NA           NA            0.00       0.00
JOHN BENINCASA                   Unsecured           0.00           NA           NA            0.00       0.00
KABBAGE                          Unsecured     50,000.00            NA           NA            0.00       0.00
KELSEY ACHO                      Unsecured           0.00           NA           NA            0.00       0.00
KIRK HUTH LANGE & BADALAMENT Unsecured               0.00           NA           NA            0.00       0.00
KRISTEN TOMA                     Unsecured           0.00           NA           NA            0.00       0.00
LAFAYETTE FEDERAL CREDIT UNION Secured         53,200.00            NA           NA            0.00       0.00
MACALLISTER RENTAL               Unsecured     20,000.00            NA           NA            0.00       0.00
MALEK SHAMAYA                    Unsecured           0.00           NA           NA            0.00       0.00
MARC PIPER                       Unsecured           0.00           NA           NA            0.00       0.00
MARCO                            Unsecured           0.00           NA           NA            0.00       0.00
MASTERCARD                       Unsecured      4,633.00            NA           NA            0.00       0.00
MATT DECOSTER                    Unsecured           0.00           NA           NA            0.00       0.00
MATTHEW MARTIN & MELISSA MART Unsecured              0.00    75,000.00     75,000.00           0.00       0.00
MEGAN MADAUS                     Unsecured           0.00           NA           NA            0.00       0.00
MOHAMED SAAD                     Unsecured           0.00   322,769.29    322,769.29           0.00       0.00
NANCY AFR                        Unsecured           0.00           NA           NA            0.00       0.00
NICK PINOZZI                     Unsecured           0.00           NA           NA            0.00       0.00
OAKLAND FUELS                    Unsecured           0.00           NA           NA            0.00       0.00
PAWNEE LEASING CORPORATION       Secured       36,000.00     37,164.80     37,164.80           0.00       0.00
PETERSON BROTHERS CO             Unsecured           0.00           NA           NA            0.00       0.00
QUENCH WATER                     Unsecured           0.00           NA           NA            0.00       0.00
RATNESH MEHRA                    Unsecured           0.00           NA           NA            0.00       0.00
RESURGENT CAPITAL SERVICES       Unsecured           0.00      5,580.45     5,580.45           0.00       0.00
ROCK BOTTOM                      Unsecured           0.00           NA           NA            0.00       0.00
RON HEITMANN                     Unsecured           0.00           NA           NA            0.00       0.00
RYAN KELLY                       Unsecured           0.00           NA           NA            0.00       0.00
SAFECO INSURANCE                 Unsecured           0.00           NA           NA            0.00       0.00
SCP DISTRIBUTORS LLC             Unsecured     60,000.00     61,288.06     61,288.06           0.00       0.00
SHEFFIELD FINANCIAL              Secured       13,000.00     13,024.90     13,024.90           0.00       0.00
SIMNA KUMAR                      Unsecured           0.00           NA           NA            0.00       0.00
SITE ONE LANDSCAPE SUPPLY        Unsecured     14,344.00            NA           NA            0.00       0.00
SMALL BUSINESS ADMINISTRATION Unsecured       500,000.00    551,887.00    551,887.00           0.00       0.00
STAFFORD LANDSCAPING             Unsecured           0.00           NA           NA            0.00       0.00
STATE OF MICHIGAN CD             Priority            0.00      7,552.78     7,552.78           0.00       0.00
THE HILLS OF LONE PINE ASSOCIATI Unsecured           0.00           NA           NA            0.00       0.00
UNIQUE FUNDING                   Unsecured     85,000.00            NA           NA            0.00       0.00
UPSTART LOAN OPERATIONS          Unsecured           0.00           NA           NA            0.00       0.00
US BANK                          Unsecured      3,044.00            NA           NA            0.00       0.00


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Scheduled Creditors:
Creditor                                    Claim         Claim         Claim        Principal       Int.
Name                             Class    Scheduled      Asserted      Allowed         Paid          Paid
US BANK NATIONAL ASSOCIATION  Unsecured           0.00      2,657.07      2,657.07           0.00        0.00
VALLEY TRANSPORT INC          Unsecured           0.00           NA            NA            0.00        0.00
WASHINGTON TWP                Unsecured      3,800.00            NA            NA            0.00        0.00
WESTERN EQUIPMENT FINANCE INC Unsecured     77,273.91            NA            NA            0.00        0.00
WIEGANDS FARM                 Unsecured           0.00           NA            NA            0.00        0.00
WINGS FINANCIAL CREDIT UNION  Unsecured           0.00    21,164.24     21,164.24            0.00        0.00
WRIGHT ENGINEERING            Unsecured           0.00           NA            NA            0.00        0.00
X1 INC                        Unsecured      4,876.00            NA            NA            0.00        0.00


Summary of Disbursements to Creditors:
                                                           Claim           Principal                Interest
                                                         Allowed               Paid                    Paid
Secured Payments:
      Mortgage Ongoing                                $1,750.00                 $0.00                $0.00
      Mortgage Arrearage                             $38,685.64                 $0.00                $0.00
      Debt Secured by Vehicle                       $189,246.36                 $0.00                $0.00
      All Other Secured                             $176,819.34                 $0.00                $0.00
TOTAL SECURED:                                      $406,501.34                 $0.00                $0.00

Priority Unsecured Payments:
       Domestic Support Arrearage                         $0.00                 $0.00                $0.00
       Domestic Support Ongoing                           $0.00                 $0.00                $0.00
       All Other Priority                           $149,190.45                 $0.00                $0.00
TOTAL PRIORITY:                                     $149,190.45                 $0.00                $0.00

GENERAL UNSECURED PAYMENTS:                       $2,447,876.73                 $0.00                $0.00


Disbursements:

       Expenses of Administration                              $655.79
       Disbursements to Creditors                                $0.00

TOTAL DISBURSEMENTS :                                                                          $655.79




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       12) The trustee certifies that the foregoing summary is true and complete and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests that the trustee be discharged and granted such relief as may be just and proper.

Dated: 04/15/2025                             By:/s/ Krispen S. Carroll
                                                                      Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case , therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




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